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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE


Cody Gigliotti

      v.                                         Case No. 24-cv-009-JL-TSM

Northern NH Correctional Facility, et. al.




                                   ORDER

     No objection having been filed, I herewith approve the Report and

Recommendation of Magistrate Judge Talesha L. Saint-Marc dated

November 26, 2024.     “‘[O]nly those issues fairly raised by the

objections to the magistrate's report are subject to review in the

district court and those not preserved by such objection are precluded

on appeal.’”     School Union No. 37 v. United Nat'l Ins. Co., 617 F.3d

554, 564 (1st Cir. 2010) (quoting Keating v. Secretary of Health &

Human Servs., 848 F.2d 271, 275 (1st Cir.1988)); see also United

States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after proper

notice, failure to file a specific objection to magistrate's report

will waive the right to appeal).


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                                           Joseph N. Laplante
                                           United States District Judge

Date: January 7, 2025


cc: Cody Gigliotti, pro se
    Counsel of Record
